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Fill in this information to identify the case:

Debtor 1              Cecilia Diaz

Debtor 2              Lazaro Diaz
(Spouse, if filing)

United States Bankruptcy Court for the: Southern                  District of Florida
                                                                             (State)

Case number           18-23422-LMI



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:              PennyMac Loan Services, LLC                        Court claim no. (if known):         2

Last four digits of any number you               XXXXXX3255                       Date of payment change:
use to identify the debtors’ account:                                             Must be at least 21 days after date of                6/1/2019
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any               $1,805.50

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtors’ escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:         $ 883.10                                       New escrow payment:             $ 884.00

Part 2:         Mortgage Payment Adjustment

2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
       variable-rate note?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                       %                              New interest rate:           %

             Current principal and interest payment:      $ _________                     New principal and interest payment:             $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:               $ _________                            New mortgage payment:             $ _________




Official Form 410S1                              Notice of Mortgage Payment Change                                                   page 1
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 Debtor 1            Cecilia Diaz                                                              Case number (if known) 18-23422-LMI
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Austin Noel                                                                              Date       5/9/2019
     Signature

Print:         Austin                                                   Noel                      Title     Bankruptcy Attorney
               First Name            Middle Name                        Last Name

Company        McCalla Raymer Leibert Pierce, LLC, Attorney for PennyMac Loan Services, LLC

Address        110 S.E. 6th Street, Suite 2400
               Number      Street
               Ft. Lauderdale                FL                          33301
               City                          State                       ZIP Code

Contact phone      813-774-6221                                                                    Email     Austin.Noel@mccalla.com
***If the Debtor and lender are currently participating in the Mortgage Modification Mediation Program, this Notice of Payment Change is for notice
purposes only and will be abated pending the outcome of the mediation. If the Debtor does not modify the mortgage, the notices will be effective
pursuant to the Notice of Payment Change.




Official Form 410S1                           Notice of Mortgage Payment Change                                                page 2
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                                                       Bankruptcy Case No.: 18-23422-LMI
 In Re:                                                Chapter:             13
          Cecilia Diaz                                 Judge:               Laurel M. Isicoff
          Lazaro Diaz

                                   CERTIFICATE OF SERVICE

       I, Austin Noel, of McCalla Raymer Leibert Pierce, LLC, 110 S.E. 6th Street, Suite 2400,
Ft. Lauderdale, FL 33301, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Cecilia Diaz
691 East 35 Street
Hialeah, FL 33013

Lazaro Diaz
691 East 35 Street
Hialeah, FL 33013

Ricardo Corona, Esq.                           (served via ECF Notification)
3899 Northwest 7 St, Second Floor
Miami, FL 33126

Nancy K. Neidich, Trustee                      (served via ECF Notification)
P.O. Box 279806
Miramar, FL 33027

Office of the US Trustee                       (served via ECF Notification)
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
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     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:   5/9/2019     By:    /s/Austin Noel
                 (date)            Austin Noel
                                   Florida BAR No. 106539
                                   Attorney for PennyMac Loan Services, LLC
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                                                                             Escrow Account Disclosure Statement
                                  P.O. Box 514387
                                  Los Angeles, CA 90051 4387
                                                                                       Statement Date: April 23, 2019
                                                                                       Loan Number:

                                                                                       Property Address:
                                                                                       691 E 35 ST
                                                                                       HIALEAH FL 33013

                                                                                          Questions? Visit our website @
                                                                                          www.PennyMacUSA.com
 CECILIA DIAZ
 LAZARO DIAZ                                                                              (800) 777 - 4001 (Se Habla Español)
 691 E 35TH ST                                                                            M - F: 6:00 AM - 6:00 PM PT
 HIALEAH, FL 33013-3139                                                                   Sat: 7:00 AM - 11:00 AM PT


Annual Escrow Account Review
At least once each year, PennyMac Loan Services, LLC (“PennyMac”) reviews your escrow account to make sure there
is enough money to pay your property taxes and/or insurance premiums. This statement informs you of any
adjustments to your monthly payment, shows you how much money you currently have in your escrow account and
how much you will need in the next 12 months.

Your New Mortgage Payment

During the next year, your escrow account balance is projected to have a surplus (meaning more funds than necessary
to pay your taxes and/or insurance as they come due). See Your Escrow Surplus on page 2 for more details.

               Description                Current Monthly Payment Amount              New Monthly Payment Amount

    Principal and Interest                              $921.50                                 $921.50

    Escrow Payment                                      $653.54                                 $884.00

    Total Payment Amount                              $1,575.04                               $1,805.50

Please start making the 'New Monthly Payment Amount' on June 01, 2019. Payments due prior to this date should be
made at the 'Current Monthly Payment Amount' shown.

Projected Escrow Account Activity

Over the next year, PennyMac expects to pay $10,608.07 from your escrow account. Your new monthly escrow
payment is $884.00.
                         Escrow Item Description               Annual Amount           Monthly Amount
                    County Tax:                                  $4,154.79
                    Flood Ins:                                    $430.00
                    Hazard Ins:                                  $4,392.00
                    Mortgage Insurance:                          $1,631.28
                    Total Payments from Escrow:                 $10,608.07   ÷ 12 =         $884.00
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Projected Escrow Account Activity (Continued)

 Below is a projection of escrow account activity from June 01, 2019 through May 31, 2020. These amounts may
 change when the actual payments become due.

                                                                                         Mortgage
                                        Escrow           Tax          Insurance          Insurance     Projected
                Month                  Deposit(s)     Payment(s)     Payment(s)         Payment(s)      Balance
 Beginning Escrow Balance                                                                              $5,084.48
 Jun 2019                                 $884.00         $0.00          $0.00            $135.94      $5,832.54
 Jul 2019                                 $884.00         $0.00          $0.00            $135.94      $6,580.60
 Aug 2019                                 $884.00         $0.00          $0.00            $135.94      $7,328.66
 Sep 2019                                 $884.00         $0.00          $0.00            $135.94      $8,076.72
 Oct 2019                                 $884.00         $0.00          $0.00            $135.94      $8,824.78
 Nov 2019                                 $884.00     $4,154.79        $430.00            $135.94      $4,988.05
 Dec 2019                                 $884.00         $0.00          $0.00            $135.94      $5,736.11
 Jan 2020                                 $884.00         $0.00          $0.00            $135.94      $6,484.17
 Feb 2020                                 $884.00         $0.00          $0.00            $135.94      $7,232.23
 Mar 2020                                 $884.00         $0.00      $4,392.00            $135.94      $3,588.29 1
 Apr 2020                                 $884.00         $0.00          $0.00            $135.94      $4,336.35
 May 2020                                 $884.00         $0.00          $0.00            $135.94      $5,084.41
 Ending Escrow Balance                                                                                 $5,084.41
 Totals                                $10,608.00     $4,154.79      $4,822.00          $1,631.28
   1
       Lowest projected balance.


Your Escrow Surplus

 Based on the projected activity above, our review shows that you will have a surplus of $2,092.17. Due to your loan
 being in a delinquent status, this surplus amount will remain in your escrow account.

                      Lowest Projected Balance                                    $3,588.29

                      Minimum Required Balance                                    $1,496.12

                      Escrow Surplus                                              $2,092.17

 PennyMac requires a minimum balance up to one-sixth of the estimated total annual payments from your escrow
 account, unless state law or your mortgage contract requires less, to help cover any unexpected increase in taxes
 and/or insurance. The minimum required balance does not include mortgage insurance.
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             Escrow Account History

             The following is the statement of activity in your escrow account from January 01, 2019 through May 31, 2019.

             Last year, we anticipated that payments from your account would be made during this period equaling $694.15.
             Your lowest monthly balance should not have exceeded $1,488.54, or 1/6 of anticipated payments from the account,
             unless your mortgage contract or state law specifies a lower amount.

             Your actual lowest monthly balance was greater than $1,488.54. The items with an asterisk on the table below may
             explain this.

             The table below shows the Projected and Actual account history for the previous escrow account period.


                            Payments                                     Disbursements                                       Escrow Balance
Month         Projected          Actual         Projected       Description              Actual          Description         Projected             Actual
Beginning Escrow Balance                                                                                                       $2,232.81    ($13,243.20)

Jan 2019          $883.10           $0.00 *       $138.83         MIP/PMI                $135.94 *         MIP/PMI             $2,977.08   ($13,379.14)

Feb 2019          $883.10           $0.00 *       $138.83         MIP/PMI                $135.94 *         MIP/PMI             $3,721.35   ($13,515.08)2

Mar 2019          $883.10       $3,305.58 *       $138.83         MIP/PMI            ($2,734.20) *    Haz Ins Ref, MIP/PMI     $4,465.62     ($7,475.30)

Apr 2019          $883.10           $0.00 *       $138.83         MIP/PMI                $135.94 *         MIP/PMI             $5,209.89     ($7,611.24)

May 2019          $883.10      $17,223.66 *E      $138.83         MIP/PMI              $4,527.94 *E   Hazard Ins, MIP/PMI      $5,954.16          $5,084.48

Ending Escrow Balance                                                                                                          $5,954.16      $5,084.48

Totals          $4,415.50      $20,529.24         $694.15                              $2,201.56


         2
          Lowest actual balance.
         An asterisk ‘*’ beside an amount indicates a difference from projected activity, either in the amount or the date.
         The letter ‘E’ beside an amount indicates that the payment has not yet occurred, but is estimated to occur as shown.
         At the time of analysis, PennyMac assumes that you will make all scheduled mortgage payments by or before the effective date of your new
         payment (shown in the Projected Escrow Account Activity section above).
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